Case 9:18-cv-81222-DMM Document 42 Entered on FLSD Docket 10/21/2019 Page 1 of 20



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                      Case No. 18-cv-81222-DMM

   Mary Mclean, individually and on
   behalf of all others similarly situated,

                   Plaintiff,

   v.

   Brett A. Osborn, D.O., PLLC,
   a professional limited liability company,

                   Defendant.
                                               /




        PLAINTIFF’S AND CLASS COUNSEL’S MOTION FOR FINAL APPROVAL OF
          CLASS SETTLEMENT AND APPLICATION FOR SERVICE AWARD AND
           ATTORNEYS’ FEES, AND INCORPORATED MEMORANDUM OF LAW
Case 9:18-cv-81222-DMM Document 42 Entered on FLSD Docket 10/21/2019 Page 2 of 20



             Plaintiff Mary Mclean sued Brett A. Osborn, D.O., PLLC, (“Osborn”) for violations of the
      Telephone Consumer Protection Act, 47 U.S.C. § 227 (“TCPA”) claiming that she was sent
      multiple unauthorized marketing text messages. The parties negotiated a settlement on behalf of
      plaintiff and a class of approximately 8,097 consumers who received multiple text messages from
      Defendant. On August 19, 2019, the Court granted Preliminary Approval to the Settlement,
      directed that notice be provided to the Settlement Class, and established a deadline for the filing of
      a motion for Final Approval. Plaintiff and Class Counsel now seek Final Approval of the
      Settlement, along with approval of a Service Award for the Class Representative and attorneys’
      fees for Class Counsel and reimbursement of certain expenses incurred in prosecuting this Action.
      I.     INTRODUCTION
             The Telephone Consumer Protection Act, 47 U.S.C. § 227 (“TCPA”), and its implementing
      regulations were enacted by Congress and the Federal Communications Commission to “offer
      consumers greater protection from intrusive telemarketing calls….” 1 To market its health-related
      services, a third-party vendor, on behalf of Osborn, sent text messages and ringless voicemails
      (“Osborn Messages”) to Plaintiff and approximately 8,097 other individuals. Plaintiff alleged that
      these actions violated the TCPA because the Osborn Messages were sent to consumers without
      express written consent.
             The parties participated in full-day mediation with Rodney Max, a well-respected mediator
      in South Florida. On that day, the Parties agreed to settle the Action to avoid the risks and
      uncertainties associated with continued litigation. The settlement required Osborn to deposit
      $800,000.00 into an Escrow Account, which was timely done by Defendant. See Settlement
      Agreement and Release (“Agreement” or “Settlement”) attached as Exhibit A. 2
             Plaintiff and Class Counsel now request that the Court: (1) grant Final Approval to the
      Settlement; (2) certify for settlement purposes the Settlement Class, pursuant to Rule 23(b)(3) and
  (e) of the Federal Rules of Civil Procedure; (3) appoint Plaintiff as Class Representative; (4) appoint as Class
  Counsel the attorneys listed in paragraph 5 of the Agreement; (5) approve the Plaintiff’s requested Service
  Award; (6) award Class Counsel attorneys’ fees; and (7) enter Final Judgment dismissing the Action with
  prejudice.




  1
    Federal Communications Commission, Small Entity Compliance Guide for the TCPA (dated May
  13, 2013), https://apps.fcc.gov/edocs_public/attachmatch/DA-13-1086A1.pdf.
  2
    All capitalized terms used herein have the same meanings as those defined in the Agreement.
                                                    1
Case 9:18-cv-81222-DMM Document 42 Entered on FLSD Docket 10/21/2019 Page 3 of 20



   II.    MOTION FOR FINAL APPROVAL
          A.      Procedural History
          On September 13, 2018, Plaintiff initiated this litigation against Osborn in the United States
   District Court for the Southern District of Florida, alleging violations of the TCPA, and seeking,
   inter alia, monetary damages. [DE #1]. After seeking a brief extension of time, [DE #9], Osborn
   filed an Answer and Affirmative Defenses. [DE #11].
          On October 31, 2018, after conducting a telephonic meet and confer the Parties submitted
   a Joint Scheduling Report. [DE #15].
          Discovery commenced in November 2018. Class Counsel served written discovery and
   documents requests and subpoenas for documents and depositions on Osborn’s mobile marketer,
   Jupiter SEO Experts.
          In response, Osborn and third-parties produced numerous pages of paper and electronic
   documents and data.
          On January 18, 2019, Defendant took the deposition of Plaintiff, and on January 19, 2019,
   Plaintiff took the corporate representative deposition of Osborn.
          On January 28, 2019, Plaintiff took the deposition of the corporate representative of Jupiter
   SEO Experts.
          On January 25, 2019, Plaintiff filed her Motion for Class Certification. [DE #28], and on
   February 19, 2019, Plaintiff took the deposition of three Osborn employees.
          After the Parties jointly moved for an extension of the remaining deadlines related to class
   certification, on March 7, 2019, the Parties mediated in West Palm Beach with mediator Rodney
   Max. At meditation, the Parties reached an agreement to settle the Action, and executed a term
   sheet memorializing their understanding. The same day, the Parties filed a Notice of Settlement
   with the Court [DE #35]. Following further negotiations and discussions, the Parties resolved all
   remaining issues, culminating in the signing of the Settlement Agreement.
          B.      Summary of the Settlement Terms
          The Settlement terms are detailed in the Agreement attached. The following is a summary
   of its material terms.

                  1.        The Settlement Class
          The Settlement Class is a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure.
   The Settlement Class is defined as:
Case 9:18-cv-81222-DMM Document 42 Entered on FLSD Docket 10/21/2019 Page 4 of 20



                 All individuals (within or outside of the United States) (i) who were sent one or more
                 Osborn Messages (ii) on his or her cellular telephone (iii) by or on behalf of Osborn,
                 (iv) from September 13, 2014 through the date of Final Approval.

   Agreement ¶ 35. The following are excluded from the Settlement Class: (1) the trial judge presiding
   over this case; (2) Osborn, as well as any parent, subsidiary, affiliate or control person of Osborn,
   and the officers, directors, agents, servants or employees of Osborn; (3) any of the Released Parties;
   (4) the immediate family of any such person(s); (5) any Settlement Class member who has timely
   opted-out of this proceeding; and (6) Plaintiff’s Counsel and their employees.
                  2.      Settlement Consideration
          Pursuant to the Settlement, Osborn, with payment coming from its insurance company,
   established a cash settlement fund in an amount of $800,000.00 (“Settlement Fund”). BCS
   Insurance Company, on behalf of Osborn, deposited the Settlement Fund into an Escrow Account.
                  3.      The Notice Program
          The Notice Program was designed to provide the best notice practicable and was tailored
   to take advantage of the information Defendant had available about Settlement Class members.
   The Notice program is designed to provide the Settlement Class with important information
   regarding the Settlement and their rights thereunder, including a description of the material terms
   of the Settlement; a date by which Settlement Class members may exclude themselves from or
   “opt-out” of the Settlement Class; a date by which Settlement Class Members may object to the
   Settlement, Class Counsel’s fee application and/or the request for a Service Award; the date of the
   Final Approval Hearing; information regarding the Settlement Website where Settlement Class
   members may access the Agreement, and other important documents. Agreement ¶¶ 40-49.
          The Notice Program informed Settlement Class members of the substantive terms of the
   Settlement. It was designed to advise Settlement Class members of their options for remaining part
   of the Settlement Class, for objecting to the Settlement, Class Counsel’s Attorneys’ fee application
   and/or request for Service Award, or for opting-out of the Settlement, and how to obtain additional
   information about the Settlement. The Notice Program was designed to reach a high percentage of
   Settlement Class members and exceeds the requirements of Constitutional Due Process.
                  4.      Service Award
          Pursuant to the Settlement, Class Counsel is entitled to request, and Defendant agreed it
          would not oppose, a Service Award up to
   $7,500.00 for the Class Representative, Mary Mclean. Agreement ¶ 64. The Service Award will
                                                     4
Case 9:18-cv-81222-DMM Document 42 Entered on FLSD Docket 10/21/2019 Page 5 of 20



   compensate Class Representative for her time and effort in the Action, including producing
   documents and sitting for a deposition, and for the risks she undertook in prosecuting the Action
   against Defendant.
                  5.      Attorneys’ Fees and Costs
          Per the terms of the Settlement Agreement, Class Counsel was entitled to request, and
   Defendant agreed it would not oppose, attorneys’ fees, litigation costs, and expenses of up to
   33.33% of the Settlement Fund. Agreement ¶ 62. The Parties negotiated and reached agreement
   regarding fees and costs only after agreeing on all other material terms of the Settlement. See
   Declaration of Scott Edelsberg ¶ 3, attached as Exhibit B (“Edelsberg Decl.”).
          C.      Argument
          Court approval is required for settlement of a class action. Fed. R. Civ. P. 23(e). The federal
   courts have long recognized a strong policy and presumption in favor of class settlements. The
   Rule 23(e) analysis should be “informed by the strong judicial policy favoring settlements as well
   as the realization that compromise is the essence of settlement.” In re Chicken Antitrust Litig. Am.
   Poultry, 669 F.2d 228, 238 (5th Cir. Unit B 1982). In evaluating a proposed class settlement, the
   Court “will not substitute its business judgment for that of the parties; ‘the only question . . . is
   whether the settlement, taken as a whole, is so unfair on its face as to preclude judicial approval.’”
   Rankin v. Rots, 2006 WL 1876538, at *3 (E.D. Mich. June 28, 2006). Class settlements minimize
   the litigation expenses of the parties and reduce the strain that litigation imposes upon already
   scarce judicial resources. Therefore, “federal courts naturally favor the settlement of class action
   litigation.” Isby v. Bayh, 75 F.3d 1191, 1196 (7th Cir. 1996). The Settlement here is more than
   sufficient under Rule 23(e) and Final Approval is clearly warranted.
                  1.      Notice was the Best Practicable and was Reasonably Calculated to
                          Inform the Settlement Class of its Rights.

          Defendant had contact information for the majority of the Settlement Class. Therefore, the
   Notice Program consisted of: (1) email notice (“Email Notice”) designed to reach those Settlement
   Class members for whom Defendant maintained email addresses; (2) direct mail postcard notice
   (“Mailed Notice”) for any Settlement Class members for whom the company did not maintain an
   email address, as well as for email attempts that turned out to be undeliverable; (3) a “Long-Form”
   notice with more detail than the email and direct mail notices, which has been available on the
   Settlement Website and via mail upon request; and (4) a Settlement Website and Toll-Free

                                                      5
Case 9:18-cv-81222-DMM Document 42 Entered on FLSD Docket 10/21/2019 Page 6 of 20



   Telephone Number. See Declaration of Amanda Sternberg ¶¶ 6-22, attached as Exhibit C
   (“Sternberg Decl.”).
          The Notice Administrator received data from Defendant that identified 8,097 unique phone
   numbers that received Osborn Messages from Defendant. Id. at ¶ 6. The Notice Administrator then
   performed a reverse telephone number look up of the 8,097 provided phone numbers to obtain
   name and address information for Settlement Class Members who owned the phone numbers
   during the class period. Id. at ¶ 7. The search yielded matches for 6,739 phone numbers with names
   and addresses. Id. Then, the Notice Administrator was able to match a total of 5,742 unique email
   addresses to the phone numbers. Id. at ¶ 10. The Notice Administrator emailed 5,632 Settlement
   Class members. Id. at ¶ 12. For those Settlement Class members for which only mailing addresses
   were available, the Administrator ran them through the National Change of Address Database and
   then mailed a total of 2,642 postcards to Settlement Class members. Id. at ¶ 18.
          The     Notice     Administrator     also       established   the     Settlement   Website,
   www.DROTCPASettlement.com, which went live on September 25, 2019. Id. at ¶ 19. The Long
   Form Notice, along with other key pleadings, have been and will continue to be available on the
   Settlement Website or upon request to the Settlement Administrator, to enable Settlement Class
   members to obtain detailed information about the Action and the Settlement. Id. As of October 18,
   2019, the Settlement Website had a total of 1,021 page views. Id. at ¶ 20.
          In addition, a toll-free interactive Voice Response Unit (“VRU”), telephone number, was
   established. Id. at ¶ 21. By calling, Settlement Class members are able listen to answers to
   frequently asked questions and request a copy of the Claim Package. Id.
          The Court-approved Notice and Notice Program satisfied due process requirements
   because they described “the substantive claims . . . [and] contain[ed] information reasonably
   necessary to make a decision to remain a class member and be bound by the final judgment.” In re
   Nissan Motor Corp. Antitrust Litig., 552 F.2d at 1104-05. The Notice, among other things, defined
   the Settlement Class, described the release provided to Defendant under the Settlement, as well as
   the amount and proposed distribution of the Settlement proceeds, and informed Settlement Class
   members of their right to opt-out or object, the procedures for doing so, and the time and place of
   the Final Approval Hearing. It also notified Settlement Class members that a final judgment would
   bind them unless they opted-out, and told them where they could get more information – for
   example, at the Settlement Website that has a copy of the Agreement, as well as other important

                                                      6
Case 9:18-cv-81222-DMM Document 42 Entered on FLSD Docket 10/21/2019 Page 7 of 20



   documents. Further, the Notice described Class Counsel’s intention to seek attorneys’ fees and
   expenses of up to 33.33% of the Settlement Fund, and a Service Award for the Class
   Representative. Hence, Settlement Class members were provided with the best practicable notice
   that was “reasonably calculated, under [the] circumstances, to apprise interested parties of the
   pendency of the action and afford them an opportunity to present their objections.” Shutts, 472
   U.S. at 812 (quoting Mullane, 339 U.S. at 314-15).
          As of October 18, 2019, the Settlement Administrator had received no requests for
   exclusions and no objections to the Settlement had been filed. Sternberg Decl. ¶ 24 and 25. The
   opt-out and objection period ends on November 5, 2019.
                  2.     The Settlement Should Be Approved as Fair, Adequate and
                         Reasonable.

          In deciding whether to approve the Settlement, the Court will analyze whether it is “fair,
   adequate, reasonable, and not the product of collusion.” Leverso v. Southtrust Bank, 18 F.3d 1527,
   1530 (11th Cir. 1994); see also Bennett v. Behring Corp., 737 F.2d 982, 986 (11th Cir. 1984). A
   settlement is fair, reasonable and adequate when “the interests of the class as a whole are better
   served if the litigation is resolved by the settlement rather than pursued.” In re Lorazepam &
   Clorazepate Antitrust Litig., MDL No. 1290, 2003 WL 22037741, at *2 (D.D.C. June 16, 2003)
   (quoting Manual for Complex Litigation (Third) § 30.42 (1995)). Importantly, the Court is “not
   called upon to determine whether the settlement reached by the parties is the best possible deal,
   nor whether class members will receive as much from a settlement as they might have recovered
   from victory at trial.” In re Mexico Money Transfer Litig., 164 F. Supp. 2d 1002, 1014 (N.D. Ill.
   2000) (citations omitted).
          The Eleventh Circuit has identified six factors to be considered in analyzing the fairness,
   reasonableness and adequacy of a class settlement under Rule 23(e):

                  (1)      the existence of fraud or collusion behind the settlement;
                  (2)      the complexity, expense, and likely duration of the
                  litigation;
                  (3)      the stage of the proceedings and the amount of discovery
                  completed;
                  (4)      the probability of the plaintiffs’ success on the merits;
                  (5)      the range of possible recovery; and
                  (6)      the opinions of the class counsel, class representatives, and
                  the substance and amount of opposition to the settlement.

   Leverso, 18 F.3d at 1530 n.6; see also Bennett, 737 F.2d at 986. The analysis of these factors set
                                                     7
Case 9:18-cv-81222-DMM Document 42 Entered on FLSD Docket 10/21/2019 Page 8 of 20



   forth below shows this Settlement to be eminently fair, adequate and reasonable.
                           a.      There Was No Fraud or Collusion.
            The contested nature of the proceedings in this Action demonstrates the absence of fraud
   or collusion behind the Settlement. See, e.g., In re Sunbeam Sec. Litig., 176 F. Supp. 2d 1323, 1329
   n.3 (S.D. Fla. 2001); Ingram v. Coca-Cola Co., 200 F.R.D. 685, 693 (N.D. Ga. 2001) (court
   had “no doubt that this case has been adversarial, featuring a high level of contention between the
   parties”).
            Plaintiff and the Settlement Class were represented by experienced counsel throughout the
   negotiations. Class Counsel and Defendant engaged in formal mediation with Rodney Max. All
   negotiations were arm’s-length and extensive. See Perez v. Asurion Corp., 501 F. Supp. 2d 1360,
   1384 (S.D. Fla. 2007) (concluding that class settlement was not collusive in part because it was
   overseen by “an experienced and well-respected mediator”); Edelsberg Decl. ¶ 4.
                           b.      The Settlement Will           Avert     Years     of   Complex   and
                                   Expensive Litigation.

            The claims and defenses are complex; recovery by any means other than settlement would
   require additional years of litigation. See United States v. Glens Falls Newspapers, Inc., 160 F. 3d
   853, 856 (2d Cir. 1998) (noting that “a principal function of a trial judge is to foster an atmosphere
   of open discussion among the parties’ attorneys and representatives so that litigation may be settled
   promptly and fairly so as to avoid the uncertainty, expense and delay inherent in a trial.”).
            In contrast, the Settlement provides immediate and substantial monetary benefits to a
   Settlement Class comprised of 8,097 Settlement Class Members. As stated in In re Shell Oil
   Refinery, 155 F.R.D. 552 (E.D. La. 1993):
                   The Court should consider the vagaries of litigation and compare the
                   significance of immediate recovery by way of the compromise to
                   the mere possibility of relief in the future, after protracted and
                   expensive litigation. In this respect, “[i]t has been held proper to take
                   the bird in the hand instead of a prospective flock in the bush.”

   Id. at 560 (alterations in original). Particularly because the “demand for time on the existing
   judicial system must be evaluated in determining the reasonableness of the settlement,” Ressler v.
   Jacobson, 822 F. Supp. 1551, 1554 (M.D. Fla. 1992) (citation omitted), there can be no doubt
   about the adequacy of the present Settlement, which provides reasonable benefits to the Settlement
   Class.

                                                       8
Case 9:18-cv-81222-DMM Document 42 Entered on FLSD Docket 10/21/2019 Page 9 of 20



                          c.      The Factual Record Is Sufficiently Developed to Enable Class
                                  Counsel to Make a Reasoned Judgment.

          Courts also consider “the degree of case development that class counsel have accomplished
   prior to settlement” to ensure that “counsel had an adequate appreciation of the merits of the case
   before negotiating.” In re General Motors Corp. Pick-up Truck Fuel Tank Prods. Liab. Litig., 55
   F.3d 768, 813 (3d Cir. 1995). At the same time, “[t]he law is clear that early settlements are to be
   encouraged, and accordingly, only some reasonable amount of discovery should be required to
   make these determinations.” Ressler, 822 F. Supp. at 1555.
          In negotiating this Settlement, Class Counsel had the benefit of years of experience in
   litigating and settling complex class actions and a familiarity with the facts of the Action.
   Edelsberg Decl. ¶ 12. As detailed above, Class Counsel conducted a thorough analysis of
   Plaintiff’s claims and engaged in extensive discovery with Osborn and third parties. Id. ¶ 13. Class
   Counsel’s review of that discovery enabled them to gain an understanding of the evidence related
   to central questions in the Action, and prepared them for well-informed settlement negotiations.
   See Francisco v. Numismatic Guaranty Corp. of America, 2008 WL 649124, *11 (S.D. Fla. Jan.
   31, 2008) (stating that “Class Counsel had sufficient information to adequately evaluate the merits
   of the case and weigh the benefits against further litigation” where counsel conducted two 30(b)(6)
   depositions and obtained “thousands” of pages of documentary discovery).
          Plaintiff also spent considerable time researching and navigating Defendant’s numerous
   defenses. As such, Class Counsel’s analysis and understanding of the legal obstacles positioned
   them to evaluate the strengths and weaknesses of Plaintiff’s claims and Defendant’s defenses, as
   well as the range and amount of damages that were potentially recoverable if the Action proceeded
   to judgment on a class-wide basis.
                      d. Plaintiff and the Class Still Faced Significant Obstacles to Prevailing.
          The “likelihood and extent of any recovery from the defendants absent . . . settlement” is
   another important factor in assessing the reasonableness of a settlement. Domestic Air, 148 F.R.D.
   at 314. Class Counsel are confident in the strength of Plaintiff’s case, but are also pragmatic in
   their awareness of the various defenses available to Osborn, and the risks inherent in trial and post-
   judgment appeal. Edelsberg Decl. ¶ 14. Even if Plaintiff and the Settlement Class prevailed at trial,
   any recovery could be delayed for years by an appeal. Lipuma, 406 F. Supp. 2d at 1322 (likelihood
   that appellate proceedings could delay class recovery “strongly favor[s]” approval of a settlement).

                                                      9
Case 9:18-cv-81222-DMM Document 42 Entered on FLSD Docket 10/21/2019 Page 10 of 20



   This Settlement provides substantial relief to Settlement Class Members, without further delay.
         This Action involved several major litigation risks that loomed in the absence of settlement
   including, but not limited to, the pending motion for class certification, motions for summary
   judgment, Daubert motions, trial as well as appellate review following a final judgment. Id. at ¶
   15. Moreover, Plaintiff would have faced many obstacles in demonstrating that the software used
   by Defendant to transmit the subject text messages is considered an automatic telephone dialing
   system, as defined by the TCPA.
         Any settlement requires the parties to balance the merits of the claims and defenses asserted
   against the attendant risks of continued litigation and delay. Class Counsel believes that Plaintiff
   had a strong case against Defendant. Id. at ¶ 7.
          Given the myriad risks attending these claims, as well as the certainty of substantial delay
   and expense from ongoing litigation, the Settlement represents a fair compromise. See, e.g.,
   Haynes v. Shoney’s, No. 89-30093-RV, 1993 U.S. Dist. LEXIS 749, at *16-17 (N.D. Fla. Jan. 25,
   1993) (“The risks for all parties should this case go to trial would be substantial. …. It is possible
   that trial on the merits would result in … no relief for the class members. … Based on … the
   factual and legal obstacles facing both sides should this matter continue to trial, I am convinced
   that the settlement … is a fair and reasonable compromise.”).
                          e.      The Benefits Provided by the Settlement Are Fair, Adequate
                                  and Reasonable Compared to the Range of Possible Recovery.

          In determining whether a settlement is fair given the potential range of recovery, the Court
   should be guided by “the fact that a proposed settlement amounts to only a fraction of the potential
   recovery does not mean the settlement is unfair or inadequate.” Behrens v. Wometco Enters., Inc.,
   118 F.R.D. 534, 542 (S.D. Fla. 1988), aff’d, 899 F.2d 21 (11th Cir. 1990). Indeed, “[a] settlement
   can be satisfying even if it amounts to a hundredth or even a thousandth of a single percent of the
   potential recovery.” Id.
          The $800,000.00 settlement fund in this case is more than reasonable, given the complexity
   of the litigation and the significant risks and barriers that loomed in the absence of settlement
   including, but not limited to, the pending motion for class certification, motions for summary
   judgment, Daubert motions, trial as well as appellate review following a final judgment. Edelsberg
   Decl. ¶ 15.
          There can be no doubt that this Settlement is a fair and reasonable recovery for the

                                                      10
Case 9:18-cv-81222-DMM Document 42 Entered on FLSD Docket 10/21/2019 Page 11 of 20



   Settlement Class in light of Osborn’s defenses, the uncertainty of class certification, and the
   challenging and unpredictable path of litigation Plaintiff and all Settlement Class members would
   face absent a settlement. Edelsberg Decl. ¶ 16. See Gehrich v. Chase Bank USA, N.A., 316 F.R.D.
   215, LEXIS 806549, at *7 (N.D. Ill. 2016) (TCPA case providing for a $52.50 payout for each
   claimant); Arthur v. Sallie Mae, Inc., 2012 U.S. Dist. LEXIS 132413 (W.D. Wash. Sept. 17, 2012)
   (approving TCPA settlement where each class claimant estimated to receive between $20 and $40).
                          f.      The Opinions of Class Counsel, the Plaintiff,                     and
                                  Absent Settlement Class Members Favor Approval.

          Class Counsel strongly endorse the Settlement. Edelsberg Decl. ¶ 11. The Court should
   give “great weight to the recommendations of counsel for the parties, given their considerable
   experience in this type of litigation.” Warren, 693 F. Supp. at 1060; see also Domestic Air, 148
   F.R.D. at 312-13 (“In determining whether to approve a proposed settlement, the Court is entitled
   to rely upon the judgment of the parties’ experienced counsel. ‘[T]he trial judge, absent fraud,
   collusion, or the like, should be hesitant to substitute its own judgment for that of counsel.’”)
   (citations omitted).
          There has been no opposition to the Settlement, as not a single objection was filed to date.
   Edelsberg Decl. ¶ 17. This is another indication that the Settlement Class is clearly satisfied with
   the Settlement. Even if there were some objections, it is settled that “[a] small number of objectors
   from a plaintiff class of many thousands is strong evidence of a settlement’s fairness and
   reasonableness.” Association for Disabled Americans v. Amoco Oil Co., 211 F.R.D. 457, 467 (S.D.
   Fla. 2002).
                  3.      The Court Should Certify the Settlement Class.
          Plaintiff and Class Counsel respectfully request that the Court certify the Settlement Class.
   “Confronted with a request for settlement-only class certification, a district court need not inquire
   whether the case, if tried, would present intractable management problems . . . for the proposal is
   that there be no trial.” Amchem Products, Inc. v. Windsor, 521 U.S. 591, 620 (1997).
          Certification under Rule 23(a) of the Federal Rules of Civil Procedure requires that (1) the
   class is so numerous that joinder of all members is impracticable, (2) there are questions of law or
   fact common to the class, (3) the claims or defenses of the representative parties are typical of the
   claims or defenses of the class, and (4) the representative parties will fairly and adequately protect
   the interests of the class. Under Rule 23(b)(3), certification is appropriate if the questions of law

                                                     11
Case 9:18-cv-81222-DMM Document 42 Entered on FLSD Docket 10/21/2019 Page 12 of 20



   or fact common to the class members predominate over individual issues of law or fact and if a
   class action is superior to other available methods for the fair and adjudication of the controversy.
   For the purpose of considering a settlement, all of the factors are satisfied.
          The numerosity requirement of Rule 23(a) is satisfied because the Settlement Class consists
   of approximately 8,097 individuals, and joinder of all such persons is impracticable. See Fed. R.
   Civ. P. 23(a)(1); Kilgo v. Bowman Trans., 789 F.2d 859, 878 (11th Cir. 1986) (numerosity satisfied
   where plaintiffs identified at least 31 class members “from a wide geographical area”).
          “Commonality requires the plaintiff to demonstrate that the class members ‘have suffered
   the same injury,’” and the plaintiff’s common contention “must be of such a nature that it is capable
   of classwide resolution – which means that determination of its truth or falsity will resolve an issue
   that is central to the validity of each one of the claims in one stroke.” Wal-Mart Stores, Inc. v.
   Dukes, 564 U.S. 338, 131 S. Ct. 2541, 2551 (2011) (citation omitted). Here, the commonality
   requirement is satisfied. There are multiple questions of law and fact – centering on Defendant’s
   messaging marketing program – that are common to the Settlement Class, that are alleged to have
   injured all Settlement Class members in the same way, and that would generate common answers.
          For similar reasons, Plaintiff’s claims are reasonably coextensive with those of the absent
   class members, such that the Rule 23(a)(3) typicality requirement is satisfied. See Kornberg v.
   Carnival Cruise Lines, Inc., 741 F.2d 1332, 1337 (11th Cir. 1984) (typicality satisfied where
   claims “arise from the same event or pattern or practice and are based on the same legal theory”).
   Plaintiff is typical of absent Settlement Class members because she received Osborn Messages and
   suffered the same injuries as them and because they will all benefit from the relief achieved.
          Plaintiff and Class Counsel also satisfy the adequacy of representation requirement.
   Adequacy under Rule 23(a)(4) relates to (1) whether the proposed class representative has interests
   antagonistic to the class; and (2) whether the proposed class counsel has the competence to
   undertake this litigation. Fabricant, 202 F.R.D. at 314. The determinative factor “is the
   forthrightness and vigor with which the representative party can be expected to assert and defend
   the interests of the members of the class.” Lyons v. Georgia-Pacific Corp. Salaried Employees
   Ret. Plan, 221 F.3d 1235, 1253 (11th Cir. 2000) (internal quotation marks omitted). Plaintiff’s
   interests are coextensive with, not antagonistic to, the interests of the Settlement Class, because
   Plaintiff and the absent Settlement Class members have the same interest in the relief afforded by
   the Settlement, and the absent Settlement Class members have no diverging interests. Further,

                                                      12
Case 9:18-cv-81222-DMM Document 42 Entered on FLSD Docket 10/21/2019 Page 13 of 20



   Plaintiff and the Settlement Class are represented by qualified and competent Class Counsel who
   have extensive experience and expertise prosecuting complex class actions.
          Rule 23(b)(3) requires that “[c]ommon issues of fact and law . . . ha[ve] a direct impact on
   every class member’s effort to establish liability that is more substantial than the impact of
   individualized issues in resolving the claim or claims of each class member.” Sacred Heart Health
   Sys., Inc. v. Humana Military Healthcare Servs., Inc., 601 F.3d 1159, 1170 (11th Cir. 2010)
   (internal quotation marks omitted). Plaintiff readily satisfies the Rule 23(b)(3) predominance
   requirement because liability questions common to all Settlement Class members substantially
   outweigh any possible issues that are individual to each Settlement Class member. The necessity
   for the court to deal with any individual issues in the litigation context is also attenuated in the
   settlement context. Further, resolution of thousands of claims in one action is far superior to
   individual lawsuits, because it promotes consistency and efficiency of adjudication. See Fed. R.
   Civ. P. 23(b)(3). For these reasons, the Court should certify the Settlement Class.
          Based on the foregoing, the Settlement is fair, adequate and reasonable.
   III.   APPLICATION FOR SERVICE AWARD
          Pursuant to the Settlement, Class Counsel respectfully request, and Defendant does not
   oppose, a Service Award for the Class Representative in the amount of $7,500.00. Service awards
   “compensate named plaintiffs for the services they provided and the risks they incurred during the
   course of the class action litigation.” Allapattah Servs., Inc. v. Exxon Corp., 454 F. Supp. 2d 1185,
   1218 (S.D. Fla. 2006). “[T]here is ample precedent for awarding incentive compensation to class
   representatives at the conclusion of a successful class action.” David v. American Suzuki Motor
   Corp., 2010 WL 1628362, at *6 (S.D. Fla. Apr. 15, 2010).
          The relevant factors include: (1) the actions the class representatives took to protect the
   interests of the class; (2) the degree to which the class benefited from those actions; and (3) the
   amount of time and effort the class representatives expended in pursuing the litigation. See, e.g.,
   Cook v. Niedert, 142 F.3d 1004, 1016 (7th Cir. 1998). These factors, as applied to this Action,
   demonstrate the reasonableness of the requested Service Award to Plaintiff. Plaintiff provided
   assistance that enabled Class Counsel to successfully prosecute the Action including submitting to
   interviews with Class Counsel, having her deposition taken, reviewing all material filings,
   including approving the Agreement, and locating and forwarding responsive documents and
   information to Defendant’s formal discovery requests. Edelsberg Decl. ¶ 18. Plaintiff also sat for

                                                     13
Case 9:18-cv-81222-DMM Document 42 Entered on FLSD Docket 10/21/2019 Page 14 of 20



   a deposition and was prepared to be available for trial, if necessary. Id. at ¶ 19.
          The Service Award of $7,500.00 is less than 0.0094% of the Settlement Fund, a ratio that
   falls well below the range of what has been deemed to be reasonable. Id. at ¶ 20. The Service
   Award requested here is reasonable.
   IV.    APPLICATION FOR ATTORNEYS’ FEES AND EXPENSES
          Pursuant to the Agreement and the Notices, and consistent with recognized class action
   practice and procedure, Class Counsel respectfully request an award of attorneys’ fees equal to
   33.33% of the Settlement Fund. Edelsberg Decl. ¶ 21. Class Counsel and Defendant negotiated
   and reached agreement regarding attorneys’ fees and costs only after reaching agreement on all
   other material Settlement terms. Id. at ¶ 3. The requested fee is within the range of reason under
   the factors listed in Camden I Condo. Ass’n. v. Dunkle, 946 F.2d 768 (11th Cir. 1991). For the
   reasons detailed herein, Class Counsel submit that the requested fee is appropriate, fair and
   reasonable and respectfully requests that it be approved by the Court.
          A.      The Law Awards Class Counsel Fees from the Common Fund Created Through
                  Their Efforts.

          It is well established that when a representative party has conferred a substantial benefit upon
   a class, counsel is entitled to attorneys’ fees based upon the benefit obtained. Camden I, 946 F.2d at
   771; Boeing Co. v. Van Gemert, 444 U.S. 472, 478 (1980). The common benefit doctrine is an
   exception to the general rule that each party must bear its own litigation costs. The doctrine serves
   the “twin goals of removing a potential financial obstacle to a plaintiff’s pursuit of a claim on behalf
   of a class and of equitably distributing the fees and costs of successful litigation among all who
   gained from the named plaintiff’s efforts.” In re Gould Sec. Litig., 727 F. Supp. 1201, 1202 (N.D.
   Ill. 1989) (citation omitted). The common benefit doctrine stems from the premise that those who
   receive the benefit of a lawsuit without contributing to its costs are “unjustly enriched” at the expense
   of the successful litigant. Van Gemert, 444 U.S. at 478. As a result, the Supreme Court, the Eleventh
   Circuit, and courts in this District have all recognized that “[a] litigant or a lawyer who recovers a
   common fund for the benefit of persons other than himself or his client is entitled to a reasonable
   attorney’s fee from the fund as whole.” Sunbeam, 176 F. Supp. 2d at 1333. Courts have also
   recognized that appropriate fee awards in cases such as this encourage redress for wrongs caused to
   entire classes of persons, and deter future misconduct of a similar nature.
          In the Eleventh Circuit, class counsel are awarded a percentage of the funds obtained

                                                      14
Case 9:18-cv-81222-DMM Document 42 Entered on FLSD Docket 10/21/2019 Page 15 of 20



   through a settlement. In Camden I – the controlling authority regarding attorneys’ fees in common-
   fund class actions – the Eleventh Circuit held that “the percentage of the fund approach [as opposed
   to the lodestar approach] is the better reasoned in a common fund case. Henceforth in this circuit,
   attorneys’ fees awarded from a common fund shall be based upon a reasonable percentage of the
   fund established for the benefit of the class.” Camden I, 946 F.2d at 774; see also Hamilton v.
   SunTrust Mortg. Inc., No. 13-60749-CIV-COHN/SELTZER, 2014 U.S. Dist. LEXIS 154762, at
   *20 (S.D. Fla. Oct. 24, 2014) (Attorneys representing a class action are entitled to an attorneys’
   fee based solely upon the total benefits obtained in or provided by a class settlement); Saccoccio
   v. JP Morgan Chase Bank, N.A., 297 F.R.D. 683, 695 (S.D. Fla. 2014) (The attorneys’ fees in a
   class action can be determined based upon the total fund, not just the actual payout to the class).
          The Court has discretion in determining the appropriate fee percentage. “There is no hard
   and fast rule mandating a certain percentage of a common fund which may be awarded as a fee
   because the amount of any fee must be determined upon the facts of each case.” Sunbeam, 176 F.
   Supp. 2d at 1333 (quoting Camden I, 946 F.2d at 774).
          The Eleventh Circuit has provided a set of factors the Court should use to determine a
   reasonable percentage to award as an attorney’s fee to class counsel in class actions:
                  (1)     the time and labor required;
                  (2)     the novelty and difficulty of the relevant questions;
                  (3)     the skill required to properly carry out the legal services;
                  (4)     the preclusion of other employment by the attorney as a
                  result of his acceptance of the case;
                  (5)     the customary fee;
                  (6)     whether the fee is fixed or contingent;
                  (7)     time limitations imposed by the clients or the
                  circumstances;
                  (8)     the results obtained, including the amount recovered for the
                  Clients;
                  (9)    the experience, reputation, and ability of the attorneys;
                  (10) the “undesirability” of the case;
                  (11) the nature and the length of the professional relationship
                  with the clients; and
                  (12) fee awards in similar cases.

   Camden I, 946 F.2d at 772 n.3 (citing factors originally set forth in Johnson v. Georgia Highway
   Express, Inc., 488 F.2d 714, 717-19 (5th Cir. 1974)).
          These 12 factors are guidelines and are not exclusive. “Other pertinent factors are the time
   required to reach a settlement, whether there are any substantial objections by class members or

                                                     15
Case 9:18-cv-81222-DMM Document 42 Entered on FLSD Docket 10/21/2019 Page 16 of 20



   other parties to the settlement terms or the fees requested by counsel, any non-monetary benefits
   conferred upon the class by the settlement, and the economics involved in prosecuting a class
   action.” Sunbeam, 176 F. Supp. 2d at 1333 (quoting Camden I, 946 F.2d at 775). The Eleventh
   Circuit has “encouraged the lower courts to consider additional factors unique to the particular
   case.” Camden I, 946 F.2d at 775. As applied, the Camden I factors support the requested fee.
                   1.       The Claims Against Defendant Required Substantial Time and Labor.
           Prosecuting and settling these claims demanded considerable time and labor, making this
   fee request reasonable. Edelsberg Decl. ¶ 22. Class Counsel devoted substantial time to
   investigating the claims against Defendant. Id. at ¶ 23. Class Counsel also expended resources
   researching and developing the legal claims at issue. Id. at ¶ 24. Time and resources were also
   dedicated to conducting formal discovery, defending and taking depositions, and moving for class
   certification. Id. at ¶ 25.
            Settlement negotiations consumed further time and resources. Id. at ¶ 26. The initial
   mediation session required substantial preparation and document review. Finally, significant time
   was devoted to negotiating and drafting of the Agreement and the preliminary approval process,
   and to all actions required thereafter pursuant to the preliminary approval order. All of this work
   consumed a substantial amount of time.
           All told, Class Counsel’s coordinated work paid dividends for the Settlement Class. Each
   of the above-described efforts was essential to achieving the Settlement before the Court. Id. at ¶
   27. The time and resources devoted to this Action readily justify the requested fee.

                   2.       The Issues Involved Were Novel and Difficult, and Required the Skill
                            of Highly Talented Attorneys.

           “[P]rosecution and management of a complex national class action requires unique legal
   skills and abilities.” Edmonds v. U.S., 658 F. Supp. 1126, 1137 (D.S.C. 1987). This Court
   witnessed the quality of our legal work, which conferred a substantial benefit on the Settlement
   Class in the face of significant litigation obstacles. Our work required the acquisition and analysis
   of a significant amount of factual and legal information.
           In any given case, the skill of legal counsel should be commensurate with the novelty and
   complexity of the issues, as well as the skill of the opposing counsel. Litigation of this Action
   required counsel trained in class action law and procedure as well as the specialized issues
   presented here, such as analyzing class certification issues. Class Counsel possess these attributes,

                                                     16
Case 9:18-cv-81222-DMM Document 42 Entered on FLSD Docket 10/21/2019 Page 17 of 20



   and their participation added value to the representation of this Settlement Class. Edelsberg Decl.
   ¶ 28.
           In evaluating the quality of representation by Class Counsel, the Court should also consider
   opposing counsel. See Camden I, 946 F.2d at 772 n.3; Ressler, 149 F.R.D. at 654. Throughout the
   litigation, Defendant was represented by extremely capable counsel. They were worthy, highly
   competent adversaries. Edelsberg Decl. ¶ 29; Walco Invs. v. Thenen, 975 F. Supp. 1468, 1472
   (S.D. Fla. 1997) (stating that “[g]iven the quality of defense counsel from prominent national law
   firms, the Court is not confident that attorneys of lesser aptitude could have achieved similar
   results”).
                  3.      Class Counsel Achieved a Successful Result.
           Given the significant litigation risks Class Counsel faced, the Settlement represents a
   successful result. Rather than facing years of costly and uncertain litigation, each Settlement Class
   Member who timely files a valid Claim Form shall automatically receive a cash distribution
   payable by check. The amount of each cash distribution shall be determined by the following
   formula: Net Settlement Fund divided by total number of Settlement Class Members = Settlement
   Fund Payment. Agreement ¶ 56. Settlement Class Claimants will be sent their Settlement Fund
   Payments to the address they submitted on their Claim Form no later than 45 days following the
   Effective Date. Id. at ¶ 57.
                  4.      The Claims Presented Serious Risk.
           The Settlement is particularly noteworthy given the combined litigation risks. Edelsberg
   Decl. ¶ 31. Consideration of the “litigation risks” factor under Camden I “recognizes that counsel
   should be rewarded for taking on a case from which other law firms shrunk. Such aversion could
   be due to any number of things, including social opprobrium surrounding the parties, thorny factual
   circumstances, or the possible financial outcome of a case. All of this and more is enveloped by
   the term ‘undesirable.’” Sunbeam, 176 F. Supp. 2d at 1336. Further, “[t]he point at which plaintiffs
   settle with defendants . . . is simply not relevant to determining the risks incurred by their counsel
   in agreeing to represent them.” Skelton v. General Motors Corp., 860 F.2d 250, 258 (7th Cir. 1988).
           Prosecuting the Action was risky from the outset. Edelsberg Decl. ¶ 32. Defendant was
   confident in their opposition to Plaintiff’s class certification argument and was likely intending on
   moving for summary judgment. See Section D.2.d., supra (Plaintiff’s summary of Defendant’s
   numerous defenses). The Settlement Fund obtained through the Settlement is substantial, given

                                                     17
Case 9:18-cv-81222-DMM Document 42 Entered on FLSD Docket 10/21/2019 Page 18 of 20



   the complexity of the litigation and the significant risks and barriers that loomed in the absence of
   Settlement. Any of these risks could easily have impeded, if not altogether derailed, Plaintiff’s and
   the Settlement Class’ successful prosecution of these claims.
           The recovery achieved by this Settlement must be measured against the fact that any
   recovery by Plaintiff and Settlement Class Members through continued litigation could only have
   been achieved if: (i) Plaintiff was able to certify a class and establish liability and damages at trial;
   and (ii) the final judgment was affirmed on appeal. The Settlement is an extremely fair and
   reasonable recovery for the Settlement Class in light of Defendant’s defenses, and the challenging
   and unpredictable path of litigation Plaintiff and the certified class would have faced absent the
   Settlement. Edelsberg Decl. ¶ 33.
                   5.      Class Counsel Assumed Considerable Risk to Pursue This Action on a
                           Pure Contingency Basis.

           In undertaking to prosecute this case on a contingent fee basis, Class Counsel assumed a
   significant risk of nonpayment or underpayment. Edelsberg Decl. ¶ 34. That risk warrants an
   appropriate fee. Indeed, “[a] contingency fee arrangement often justifies an increase in the award
   of attorney’s fees.” Sunbeam, 176 F. Supp. 2d at 1335 (quoting Behrens, 118 F.R.D. at 548).
           Public policy concerns – in particular, ensuring the continued availability of experienced
   and capable counsel to represent classes of injured plaintiffs holding small individual claims –
   support the requested fee. Edelsberg Decl. ¶ 35. The progress of the Action to date shows the
   inherent risk faced by Class Counsel in accepting and prosecuting the Action on a contingency fee
   basis. Despite Class Counsel’s effort in litigating this Action, Class Counsel remain completely
   uncompensated for the time invested in the Action, in addition to the expenses we advanced. Id. at
   ¶ 36. There can be no dispute that this case entailed substantial risk of nonpayment for Class
   Counsel.
                   6.      The Requested Fee Comports with Fees Awarded in Similar Cases.
           Counsel’s requested fee of 33.33% of the Settlement Fund is well within the range of fees
   typically awarded in similar cases. Id. at ¶ 37. Numerous decisions within and outside of the
   Southern District of Florida and the Eleventh Circuit have found that a 33.33% fee is well within
   the range of reason under the factors listed by the Camden I. See Legg v. Laboratory Corp. of
   America, 14-cv-61543-RLR, Dkt. 227, p.7 (S.D. Fla. Feb. 18, 2016) (FACTA case awarding one-
   third of gross recovery for attorneys’ fees, plus expenses); Gevaerts v. TD Bank, N.A., No. 11:14-

                                                       18
Case 9:18-cv-81222-DMM Document 42 Entered on FLSD Docket 10/21/2019 Page 19 of 20



   cv-20744-RLR, 2015 U.S. Dist. LEXIS 150354, at *27 (S.D. Fla. Nov. 5, 2015) (finding
   that a request for 30% of a $20 million dollar fund is justified); Wolff v. Cash 4 Titles, No. 03-
   22778- CIV, 2012 WL 5290155, at *5-6 (S.D. Fla. Sept. 26, 2012) (“The average percentage award
   in the Eleventh Circuit mirrors that of awards nationwide—roughly one-third.”) (citing Circuit
   case law and listing Southern and Middle District of Florida attorneys’ fees awards).
          Class Counsel’s fee request falls within the range of the private marketplace, where
   contingency fee arrangements often approach or equal forty percent of any recovery. See
   Continental, 962 F.2d at 572 (“The object in awarding a reasonable attorneys’ fee . . . is to simulate
   the market.”); RJR Nabisco, Inc. Sec. Litig., Fed. Sec. L. Rep. (CCH) ¶ 94, 268 (S.D.N.Y. 1992)
   (“[W]hat should govern [fee] awards is . . . what the market pays in similar cases”). And, “[i]n tort
   suits, an attorney might receive one-third of whatever amount the Plaintiff recovers. In those cases,
   therefore, the fee is directly proportional to the recovery.” Blum v. Stenson, 465 U.S. 886, 904
   (1984) (Brennan, J., concurring).
          Finally, Class Counsel’s fee request also falls within the range of awards in TCPA cases
   within this Circuit and elsewhere. See Gottlieb v. Citgo Petroleum Corp., No. 9:16-cv-81911, 2017
   U.S. Dist. LEXIS 197382, at *7 (S.D. Fla. Nov. 29, 2017) (granting fees and costs amounting to
   one-third of the $8,000,000.00 settlement fund); ABC Bartending School of Miami, Inc., v.
   American Chemicals & Equipment, Inc., No. 15-CV-23142-KMV (S.D. Fla. April 11, 2017)
   (granting fees and costs amounting to one-third of the $1,550,000.00 settlement fund); Guarisma
   v. ADCAHB Med. Coverages, Inc., Case No. 1:13-cv-21016 (S.D. Fla. June 24, 2015) (granting
   fees and costs amounting to one-third of the $4,500,000.00 settlement fund).
          Consequently, the attorneys’ fee requested here, which is within the range of the cases cited
   about, is appropriate and should be awarded.
   V.     CONCLUSION
          Plaintiff and Class Counsel respectfully request that this Court: (1) grant Final Approval to
   the Settlement and enter the proposed order attached as Exhibit D; (2) certify for settlement
   purposes the Settlement Class pursuant to Federal Rules of Civil Procedure 23(a), 23(b)(3), and
   23(e); (3) appoint Mary Mclean as Class Representative; (4) appoint as Class Counsel the law
   firms and attorneys listed in paragraph 10 of the Agreement; (5) approve the requested Service
   Award in the amount of $7,500.00; (6) award Class Counsel attorneys’ fees in the amount of 33.33%
   of the Settlement Fund; and (7) enter Final Judgment dismissing the Action with prejudice.

                                                     19
Case 9:18-cv-81222-DMM Document 42 Entered on FLSD Docket 10/21/2019 Page 20 of 20



   Counsel for Defendant has no opposition to this motion.

   Dated: October 21, 2019

   Respectfully submitted,

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